Case 1:18-cv-21991-RNS Document 6 Entered on FLSD Docket 06/26/2018 Page 1 of 9


Hatthew B. Cox
Register 5o. 40171-018
Federal Correctional Complex Coleman-tow
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Coleman, Florida 33521                                               z'     :

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INCARCERATED ENTERTAINMENT, LLC,                   No. 18-cv-21991 SCSIA
a Florida Limited Liability Corp.,
and Efraim Diveroli, an individual,
                    Plaintiffs,

                                                DEFO AW œ X'S ANSWER

HATTHEH BEVAN COX, an individualy
                    Defendant.
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     In conjunction with this Answer, Defendant Matthew Cox (''Cox'') has
filed a counter-complaint against Plaintiffs Incarcerated Entertainment LLC,
and Efraim Diveroli. Mr. Cox has asserted eleven counter-claims.

     Having aggressively litigated what essentially amounts to two separate
federal actions against Warner Bros. Pictures in the U. S. District Court for

the Hiddle District of Florida (see Complaint (Dkt. 1) and Amended Complaint
(Dkt. 78), lncarcerated Entertainment v. Warner Bros. Pictures, No. 8:16-cv-
O13O2-MSS-AAS (M.D. F1a.)), plaintiffs, after vociferously objecting to Mr.
Case 1:18-cv-21991-RNS Document 6 Entered on FLSD Docket 06/26/2018 Page 2 of 9


 Cox's attempts to intervene in the Hiddle District of Florida suit, have now
 initiated a separate lawsuit in the Southern District of Florida arising out
of the same disputed conduct that Cox had attempted to litigate in the Middle

District. This particular legal strategy is known formally as: chutzpah .

        Plaintiffs desperately sought to keep Cox out of the Middle District of
Florida lawsuit after he had notified the parties that he was in a position
to arm Warner Bros. Pictures with evidence that it could use to show that the
plaintiffs had improperly manufactured IE's fraudlent claim that Warner had
stolen elements of Diveroli's story from the f'Once A Gun Runner'' manuscript
by manipulating a Warner surrogate into taking possession of the mansucript

so that IE and Diveroli could then allege the fraudulent claims against the
Warner Defendants that IE had asserted in its Original Complaint.

        IE agreed to dismiss the Hiddle District lawsuit after Warner agreed to
settle the case before that court ruled on Mr. Cox's motion to intervene.      In
sum, IE successfully manipulated the Middle District case to keep Cox's fraud

on the court allegations from being adjudicated in a forum competent to
impose sanctions on IE for its intentional misconduct.     Worse yet, IE now
seeks to have this court declare valid the same purported contract that Cox
- -
      in the Middle District of Florida matter -- had alleged was void for fraud
and invalid under federal contract law.


       For the purpose of filing an Answer to Plaintiffs' Complaint, Cox hereby
answers the Complaint filed by Incarcerated Entertainment and Efraim Diveroli
as follows:

       GENERAI,DENIAL: Except   as otherwise stated hereiny Cox denies (i) each
and every allegation in the Complaint, including without limitation any
Case 1:18-cv-21991-RNS Document 6 Entered on FLSD Docket 06/26/2018 Page 3 of 9


allegations contained in the heading or subheadings of the Complaint; and
(ii) that Plaintiffs are entitled to any relief.

     1. Deny.

     2. Deny.

     3. Cox lacks knowledge or information sufficient to form a belief as to
the truth of the allegation contained in paragraph 3 of the Complaint and on
that basis denies the allegation.

        Cox denies that Diveroli is a 32-year o1d entrepreneur; Cox wrote

Diveroli's biography and the Gun Runner manuscript (from which the book is
derivedl- Cox knows the truth (i.e., that Diveroli is a fraudster who was
convicted for defrauding the United States Government in an international

arms trafficking scam during wartime). Diveroli also formerly resided at the
Coleman Federal Correctional Complex. The plaintiffs' allegation otherwise
is denied.

         Cox admits only that he is an inmate at the Federal Correctional
Complex in Coleman, Florida. The plaintiffs' allegation is otherwise denied.

         Deny.

         Deny. The purported written agreement, as claimed by Cox in his
counter-complaintj is void for fraud and invalid under federal contract law.

     8. Deny.

         Cox lacks knowledge or sufficient information to form a belief as
to the truth of the allegations contained in paragraph 9 and on that basis
denies the allegations.
Case 1:18-cv-21991-RNS Document 6 Entered on FLSD Docket 06/26/2018 Page 4 of 9


    1O. Cox denies that Diveroli's criminal activities were ''sensational-''
Cox admits only that Diveroli is a convicted fraudster and an admitted liar.

Cox admits that Diveroli was indicated by a federal grand jury in Miami with
84 counts of criminal fraud and conspiracy related to arms trafficking. See

United States v. Diveroli, No. 1:08-cr-20574      F1a.). Cox also admits
that Diveroli ultimately pleaded guilty and accepted a four-year plea bargain.

     11. Cox admits only that he was convicted of mortgage fraud, and that
he and Diveroli met in federal prison. The plaintiffs' allegations other-

wise are denied.

     12. Cox admits only that an agreement was signed in federal prison
while both Cox and Diveroli were serving their federal prison sentences.

          Deny.

     14. Deny.
     15. Deny.

     16. Deny.

     17. Cox lacks knowledge or information sufficient to form a belief as

to the truth of the allegation contained in paragraph 17 and on that basis
denies the allegation.

          Cox lacks knowledge or information sufficient to form a belief as
to the truth of the allegations contained in paragraph 18 and on that basis

denies the allegation.

     19. Cox lacks knowledge or information sufficient to form a belief as
to the truth of the allegations contained in paragraph 19 and on that basis

denies the allegation.
Case 1:18-cv-21991-RNS Document 6 Entered on FLSD Docket 06/26/2018 Page 5 of 9



      2O. Deny.

      21. Cox lacks knowledge or information sufficient to form a belief as
 to the truth of the allegation contained in paragraph 21 and on that basis
 denies the allegation-

           Cox lacks knowledge or information sufficient to form a belief as
 to whether IE made any attempt to ascertain his prisoner account information
 and on that basis denies the allegation contained in paragraph 22. Cox also
 denies that he ever declined to provide his prisoner account information to
 Dlveroli or Incarcerated Entertainment. Cox admits only that Diveroli's
 business partner -- Ross Reback -- has placed money on Cox's prisoner
 account on numerous occasions for the purpose of reimbursing Cox the
 expenses he incurred in researching, writing, and editing the ''Once A Gun

 Runner''manuscript (from which the book is derived). The plaintiffs'
 remaining allegations contained in this paragraph are denied.

           Cox lacks knowledge or information sufficient to form a belief
 as to the truth of the allegation contained in paragraph 23 and on that
 basis denies the allegation.

      24. Cox admits only that in November, 2016, IE alleged federal
 causes of action against Warner Bros' Pictures alleging violations of the

 Lanham Act (false advertising).
      25. Cox denies that 1E's case against Warner Bros. Pictures had been
 pending for one-year when he sought to intervene. Cox admits only that he
moved to intervene four months after IE had accused Warner Bros. Pictures

 of violating the Lanham Act (false advertising).
Case 1:18-cv-21991-RNS Document 6 Entered on FLSD Docket 06/26/2018 Page 6 of 9


     26. Deny.

     27. Cox lacks knowledge or information sufficient to form a belief as
 to the truth of the allegations contained in paragraph 27 and on that basis
denies the allegation.

     28. Cox lacks knowledge or information sufficient to form a belief as

 to the truth of the allegations contained in paragraph 28 and on that basis
denies the allegation.


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     29. In response to paragraph 29, Cox repeats and realleges each and
every response to paragraphs 1 through 28 as though set forth in full herein.

     3O. Deny.

          Deny .

          Deny.


     WHEREFORE, Defendant Cox respectfully requests that the Court deny a11
relief sought by the plaintiffs; grant relief requested by Hy. Cox, including
consequential, exemplary, and punitive damages. Further, Hr. Cox requests a

trial by jury for a11 issues triable to a jury for whatever aspect of this
action requires a jury trial. Finally, Mr. Cox requests the court award Cox
such other and further relief as the court may deem just and equitable.
     Dated : June 21, 2018
                                          Respectfully suhnitted,
                                                             A   .
                                             ..   z' t'          ''r


                                          Matthew B. Cox
Case 1:18-cv-21991-RNS Document 6 Entered on FLSD Docket 06/26/2018 Page 7 of 9



                             CERTIFICATE OF SERVICE


     I hereby certify that on the 21st day of June, 2018, I mailed a copy of
the Defendant's Answer to Plaintiffs' Complaint in the U.S. Mail with postage

fully prepaid thereon to the following:

INCARCERAITD ENTERTAINMEVF, 1JE
c/o Matthew Troccoli, Esq.
    taw Offices of Matthew Troccoli, PA
    2250 SW 3rd Ave., Ste 3O3
    Miami, FL 33129
EFRAIM DIVEROLI
c/o Matthew Troccoli, Esq.
    taw Offices of Matthew Troccoli, PA
    2250 SW 3rd Ave.y Ste. 303
    Miami, FL 33129

WARNER BROS. PICFURES
c/o John Rogovin
    Executive Vice President and General Counsel
    Warner Bros. Pictures                ,
    Burbank, Calif-, 91522

FSTATE OF ROSS RERACK
c/o Cynthia 1. Rice, Esq.
    Attorney at taw
    1744 5. Belcher Rd-, Ste 150
    Clearwater, FL 33765

     Please note that 1 have delivered the foregoing Answer to the requisite
Bureau of Prisons officer who is responsible for handling outgoing prisoner
legal mail. 1 am doing so for the purpose of taking advantagce of the

prisoner legal mail-box rule to ensure timely filing. I declare under

penalty of perjury that the foregoing is true.



                                          Matthew Cox
                                          Register No. 40171-018
Case 1:18-cv-21991-RNS Document 6 Entered on FLSD Docket 06/26/2018 Page 8 of 9



                             CERTIFICATE OF SERVICE


     1 hereby certify that on the 21st day of June, 2018, I mailed a copy of

the Defendant/e unter-plaintiff's Counter-complaint and Separate Complaint in
the U.S. mail with postage fully prepaid thereon to the following:

INCARCERATRD ENTERTAINHENT, 1JE
c/o Matthew Troccoli, Esq.
    taw Offices of Matthew Troccoli, PA
    2250 SW 3rd Ave-, Ste 3O3
    Hiami, FL 33129

FAQAIM DIVEROLI
c/o Matthew Troccoli
    taw Offices of Hatthew Troccoli, PA
    2250 SW 3rd Ave., Ste 303
    Miami, FL 33129

WARNRR BROS. PICFURES
c/o John Rogovin
    Executive Vice President and General Counsel
    Warner Bros. Pictures
    Burbank, Calif-, 91522
ESTATE OF ROSS QEBACK
c/o Cynthia 1. Rice, Esq.
    Attorney at taw
    1744 N. Belcher Rd-, Suite 150
    Clearwater, FL 33765

      Please note that I have delivered the foregoing pleading to the
requisite Bureau of Prisons officer who is responsible for handling outgoing
prisoner legal mail. I am doing so for the purpose of taking advantage of the

prisoner legal mail-box rule. I declare under penalty of perjury that the
foregoing is true.
                                                A     P 'P       7
                                               Matthew Cox
                                               Register 5o. 40171-018
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